                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
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                                             )
Global Force Entertainment, Inc. and Jeffrey )
Jarrett,                                     )
                                             )
              Plaintiffs,                    )
                                             )
v.                                           )   Case No. 3:18-cv-00749
                                             )
Anthem Wrestling Exhibitions, LLC,           )
                                             )
              Defendant.                     )
__________________________________________)

                DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
           EVIDENCE OF ANTHEM SPORTS & ENTERTAINMENT CORP.’S
             CORPORATE STRUCTURE AND FINANCIAL CONDITION

       COMES NOW Defendant Anthem Wrestling Exhibitions, LLC (“Defendant” or “Anthem

Wrestling”), by and through undersigned counsel, pursuant to Rule 104(a) of the Federal Rules of

Evidence, and respectfully moves the Court in limine, with its Memorandum of Law in Support

incorporated below, for entry of an Order excluding all evidence and discussion of non-party

Anthem Sports & Entertainment Corp.’s (“Anthem Sports”) corporate structure and financial

condition. Any such evidence of non-party Anthem Sports is irrelevant, prejudicial, and a waste

of time. Pursuant to Local Rule 7.01(a)(1), Anthem Wrestling has conferred with Plaintiffs’

counsel and the relief sought by this Motion is opposed.

                                          ARGUMENT

       As other district courts have held, evidence of a non-party parent company’s financial

condition is not relevant and should not be admitted where there is no evidence of fraud or that the

defendant is an alter ego of its parent. Mathias v. Accor Economy Lodging, Inc., 2002 WL

1611582, at *1 (N.D. Ill. July 22, 2002) (granting motion in limine to exclude as irrelevant




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evidence of net worth of “defendants’ parent company and non-party to this suit”); Spellbound

Dev. Grp. Inc. v. Pacific Handy Cutter Inc., 2012 WL 8748801, at *3 (C.D. Cal. Feb. 24, 2012)

(granting defendants’ motion in limine to exclude as irrelevant evidence about parent company’s

“assets or size”); Greenwell v. Raytheon Aerospace Co., 1996 WL 476605, at *1 (E.D. La. Aug.

22, 1996) (granting defendant’s motion in limine to exclude as irrelevant evidence about parent

company’s “net worth”).

       Anthem Sports was a defendant to this action but was dismissed with prejudice for lack of

personal jurisdiction. (Order Granting Mot. to Dismiss for Lack of Personal Jurisdiction, Dkt. No.

80) This Court, in analyzing the jurisdictional issues, has already considered and rejected

Plaintiffs’ argument that Anthem Sports and Anthem Wrestling were alter egos (Mem. Opinion,

Dkt. No. 79, p. 9-12) and there has been no evidence of fraud in this matter. Therefore, any

evidence of Anthem Sports’ corporate structure or financial condition is completely irrelevant to

the action at hand. It has no impact on or relevance to any of Plaintiffs’ substantive claims.

Additionally, such evidence of Anthem Sports’ financials or assets would be extremely prejudicial

to Anthem Wrestling. While Anthem Sports is Anthem Wrestling’s parent entity, the two are

completely separate business entities that do not share assets. Any evidence of Anthem Sports’

financials could prejudice the jury against Anthem Wrestling by leading them to believe that

Anthem Wrestling has assets that it does not have and would not be able to use to pay any potential

award to Plaintiffs. Finally, any such evidence would confuse a jury and waste time. The details

of the relationship between Anthem Wrestling and its non-party parent and the parent’s financial

condition are neither relevant nor helpful to the jury’s analysis of the substantive issues.

Complicated financial and structural evidence will serve only to confuse the jury unnecessarily

and waste time during trial.



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                                        CONCLUSION

       Anthem Wrestling humbly requests that the Court enter an Order excluding all evidence of

Anthem Sports’ financial condition and corporate structure because such evidence is irrelevant and

prejudicial to Anthem Sports.


                                                    Respectfully Submitted,

                                                    BASS, BERRY & SIMS PLC

                                                    /s/ Paige W. Mills
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2020, I electronically filed the foregoing document with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to
the following and/or served the following via U.S. Mail:

 Samuel F. Miller
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                                                      /s/ Paige W. Mills




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